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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK

                                                         Case No.___________________
    C.S., individually and on behalf of all other
    similarly situated,                                  CLASS ACTION COMPLAINT

                    Plaintiff,                           DEMAND FOR JURY TRIAL

           v.

    THE TRUSTEES OF COLUMBIA
    UNIVERSITY IN THE CITY OF NEW
    YORK, a New York corporation,

                    Defendant.


         Plaintiff C.S., individually and on behalf of all others similarly situated, brings this Class

Action Complaint against Defendant The Trustees of Columbia University in the City of New

York, doing business as Columbia University, and alleges as follows upon personal knowledge as

to herself and, as to all other matters, upon information and belief.

                                            INTRODUCTION

                “Never forget the 7th of October. That will happen not one more time, not
                five more times, not 10, 100, 1,000, 10,000. The 7th of October is going to be
                every day for you.” 1
                                          - Masked protester threatening Jewish students
                                            at Columbia University (April 18, 2024).

          1.       Universities are the foundational bedrock of our society, providing critical forums

for open and rigorous debates on major issues of the day. Engaging in free and spirited debate is

a uniquely American value and a significant part of the education university students receive as

they learn to analyze a range of viewpoints, develop positions, and then advocate for them. These



1
      The “7th of October” refers to October 7, 2023, the deadliest day for Jews since the
Holocaust, when Hamas––a U.S. designated terrorist organization––invaded the State of Israel,
massacred 1,200 Jews, and captured more than 200 civilian hostages.


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debates are so critical to our society that they are constitutionally protected. This commitment to

free speech and robust discourse is what this country was built on and is central to our identity.

       2.      But when forums turn violent and hostile, genuine debate becomes impossible,

and the American bedrock principle of free speech is fundamentally compromised. This is

exactly what is happening at Columbia University.

       3.      Since October 7th, there has been a surge of intense social and political debates

across the country about the State of Israel. While the Israel-Palestine conflict has long been a

contentious issue, the recent round of debates centers on Israel’s response to Hamas’ October 7th

attack, the appropriateness of Israel’s military actions against Hamas, the humanitarian crisis in

Gaza, and the U.S.’s financial and military support for Israel. These debates often make people

profoundly uncomfortable, and opinions are deeply divided. However, this kind of discourse is a

cornerstone of American society, where differing viewpoints can be discussed openly, even

when protestors use inflammatory language like “Fuck Israel” or make other derogatory remarks.

Despite the discomfort these debates can cause, they are part of the fabric of a democratic society

that values free speech and the unfettered exchange of ideas.

       4.      Many of the individuals at Columbia are exercising their constitutionally

protected right to protest and express their views about Israel, aiming to effect changes they

believe in. However, within these groups, there’s a subset of protesters who have gone well

beyond simply engaging in free speech and who have different and menacing goals. This

extreme element is not just expressing dissent; they have and are continuing to commit acts of

violence, they are intimidating and harassing Jewish students and faculty members, they are

inciting demonstrators to engage in hate speech and also commit acts of violence, which has

been taking place, and they have even called for terrorist attacks against the United States and




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the State of Israel. All of these acts have been calculated to disrupt the normal functioning of

Columbia and to overshadow the voices of those engaging in constitutionally protected speech

and protest.

        5.      On April 18, 2024, a group of these extreme demonstrators at Columbia began

occupying a centrally located section of campus they call the “Liberated Zone” where they

erected a “Gaza Solidarity Encampment” with more than 60 tents and have actively blocked

Jewish and other students––by force, harassment, and threats of violence––who do not share

their views from traversing the campus and attending classes. Despite Columbia’s repeated

requests for the encampment to be removed, they have thus far refused and instead have called

for the encampment to grow.

        6.      Since its formation, the encampment has been the center of round-the-clock

harassment of Jewish students, who have been punched, shoved, spat upon, blocked from

attending classes and moving freely about campus, and targeted by pro-terrorist hate speech––

both verbal and in written form on massive banners and signs––with statements such as: “Death

to the Jews”; “Long live Hamas”; “Globalize the Intifada2”; “there is only one solution, Intifada

revolution” (invoking Hitler’s “final solution” of killing all Jews); “Hamas we love you. We

support your rockets too”; “Red, black, green, and white, we support Hamas’ fight”; “It is right

to rebel, Al-Qassam,3 give them hell”; and “go back to Poland” (a not-too-veiled reference to the

concentration camps where Jews were mass murdered during the Holocaust).


2
        “Intifada” is an Arabic word that refers to a series of brutal terrorist attacks against Israeli
civilians between 1987-1993 and 2000-2005 through various forms of violence including mass
shootings and suicide bombings.
3
        “Al-Qassam” refers to the military wing of Hamas. The Al-Qassam Brigades are known
for launching violent attacks against Israeli civilians, including on October 7th. The group has
been sanctioned by numerous governments around the world, including most recently the
European Union, which found that on October 7th, Al-Qassam’s fighters “committed widespread
sexual and gender-based violence in a systematic manner, using it as a weapon of war.”


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       7.        These extreme demonstrators are not engaging in constitutionally protected free

speech. Instead, they are openly inciting violence against Jewish students. A clear example is the

Columbia student shown in Figure 1, below, holding a sign with an arrow pointing at Jewish

Columbia students that are waving American and Israeli flags. The sign reads “Al-Qasam’s next

targets,” implying that these students should be the next victims of a massacre by Hamas’

military wing:




                 (Figure 1.)

This provocative display is emblematic of the rhetoric being used to threaten and intimidate

Jewish students on campus.

       8.        Columbia has done nothing to curb this outrageous behavior or meaningfully

discipline those responsible, and the administration’s inaction and willingness to capitulate to the

demands of this extremist element of demonstrators have fanned the flames of antisemitism



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across campus.

         9.       Indeed, despite its supposed commitment to diversity, equity, and inclusion,

Columbia has allowed a small group of fringe demonstrators to target Jewish students and

faculty with harassment, hate speech and violence for the sole reason that they are (or appear to

be) Jewish. Columbia’s inaction and willingness to allow for such vile conduct is antithetical to

fostering an environment of diversity, equity, and inclusion. For instance, when one of these

extreme demonstrators noticed a female student approaching the encampment wearing a Star of

David necklace, he proclaimed, “Attention, everyone! We have Zionists who have entered the

camp!” He then ordered more than 100 protesters to lock arms and instructed, “So that we can

push them out of the camp, one step forward! Another step forward!” More than 100 students

marched in unison towards a lone Jewish student until she had no choice but to leave.4 A video5

emerged a few days later of the same encampment leader declaring, “Zionists6 do not deserve to

live.”

         10.      This incident made clear that while this extreme element claims to be

demonstrating against Israeli oppression, they are simply targeting students for being Jewish.

Their snap reaction to block an approaching student who appears to be Jewish from joining the

encampment demonstrates their goal is not to engage in discussion or debate about the Israel-

Hamas war or plight of the Palestinian people, but instead to intimidate and marginalize



4
        Video of this disturbing incident can be seen here:
https://x.com/chalavyishmael/status/1782260652477649104.
5
        The video posted by the encampment leader can be seen here:
https://x.com/ShelleyGldschmt/status/1783560978774520255.
6
        When someone uses “Zionists” in this way, they are often using it as a code word for
Jewish people. This terminology enables them to promote discrimination and hatred against Jews
while maintaining plausible deniability that they are engaged in antisemitism. Even if the speaker
understands the difference between a Zionist and a Jew, they are frequently inciting action from
people who might believe that all Jews are Zionists.


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Columbia’s Jewish students.

       11.      Columbia’s President, Minouche Shafik, initially seemed to take a firm stance

against the escalating chaos on campus by issuing an ultimatum to these extreme demonstrators

who are occupying the encampment. She warned that if they did not vacate the encampment by

12:00 a.m. on April 24, the police would be called to intervene and restore order. However, when

the deadline passed without compliance, she announced that she was “negotiating” with those

that have engaged in this outrageous and constitutionally unprotected conduct and opted instead

to not enforce the ultimatum.

       12.      Although Columbia publicly broadcasted that it was eager to negotiate with these

individuals, it made no public nor, on information and belief, private effort to engage with the

Jewish students who have been displaced. This sends a clear message about Columbia’s

priorities. In fact, Columbia’s administration ultimately agreed to allow both these extreme

demonstrators and the encampment to remain in place, and in a shocking twist, decided to bar the

only Jewish professor speaking out on behalf of the Jewish students from entering campus, citing

safety concerns.

       13.      Columbia has in no uncertain terms announced that the university is not safe for

its Jewish students. But rather than clear the encampment, the administration decided to take the

extraordinary step of shifting to a “hybrid” model of education for the remainder of the academic

year, where students that don’t feel safe enough to attend class in person can view the class

online. This absurd shift makes no attempt to solve the safety problem on campus, and at the

same time, creates two very different educational experiences for Jewish and non-Jewish

students. The vast majority of the student population, including these extreme demonstrators, get

to attend classes in person, take tests in person, communicate with professors in person, and




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otherwise take advantage of the campus.

       14.      The Jewish students, on the other hand, get a second-class education where they

are relegated to their homes to attend classes virtually, stripped of the opportunity to interact

meaningfully with other students and faculty and sit for examinations with their peers. This

policy shift is a clear admission that the campus is not simply experiencing a protest movement,

which has happened to universities across the country for decades, but instead, has become a

place that is too dangerous for Columbia’s Jewish students to receive the education they were

promised.

       15.      The segregation of Jewish students is a dangerous development that can quickly

escalate into more severe acts of violence and discrimination, underscoring the critical

importance of addressing and combating such behavior at its early stages.

       16.      Plaintiff C.S. brings this lawsuit to hold Columbia accountable for failing to

provide a safe educational environment for its students. Plaintiff also seeks an emergency

injunction, through a motion filed contemporaneously with this complaint, requiring Columbia to

enforce its Statement of Ethical Conduct and Administrative Code of Conduct to provide safe

and secure access to education free from harassment and discrimination so that Plaintiff and the

Class members can safely complete the semester in person with the rest of the student body.

                                             PARTIES

       17.      Plaintiff C.S. is a                  and a Jewish student in her second year at

                                                                                     .

       18.      Defendant The Trustees of Columbia University in the City of New York is the

legal name of Columbia University, a private university based in New York, New York.




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                                  JURISDICTION AND VENUE

        19.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2) because

(i) at least one member of the Class (defined below) is a citizen of a different state than any

Defendant, (ii) the amount in controversy exceeds $5,000,000, exclusive of interests and costs,

and (iii) none of the exceptions under that section apply.

        20.      This Court has personal jurisdiction over Defendant because its principal place of

business is in this District and the wrongful conduct at issue in this case occurred in this District.

        21.      Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant

resides in this District.

                                               FACTS

I.      Jewish Students Are Unsafe at Columbia And Their Education Has Been
        Significantly Disrupted.

        22.      On April 18, 2024, protesters at Columbia gathered to form the so-called “Gaza

Solidarity Encampment” on a central area of campus known as South Lawn West which they

have renamed the “Liberated Zone.” The stated goal of the protest is to force Columbia to

financially divest from companies and institutions that profit from alleged “Israeli apartheid,

genocide and occupation in Palestine.” The protesters have erected tents and have pledged to

occupy the Liberated Zone until their demands are met. Within a matter of hours, the protest

escalated into a threatening environment that endangered and continues to endanger the safety of

students, particularly those who identify as Jewish or have connections to Israel.

        23.      The encampment has become a focal point for aggressive and violent behavior.

Documented incidents include verbal threats, physical intimidation, and even assaults on

students. Jewish students have been subjected to derogatory remarks, with chants like “Go back

to Poland,” invoking antisemitic tropes of returning to the concentration camps and promoting



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discrimination. More disturbingly, direct threats have been made, including references to the

October 7th Hamas terror attacks, with individuals declaring, “The 7th of October is going to be

every day for you.” Such statements create a climate of fear and hostility and have no place in a

civilized society, let alone an academic setting where young adults are trying to learn and grow

as individuals.

       24.        The presence of the encampment and the resulting unrest has significantly

disrupted the educational experience for many students. Classes have been interrupted by loud

protests, and some students have been physically blocked from attending lectures and other

academic activities.

       25.        Columbia’s response was to give the encampment an ultimatum to vacate by

midnight on April 24th, with a threat to involve the police if they refused. However, when the

protesters ignored the ultimatum, President Shafik relented and did not follow through with her

promise to remove them.

II.    Columbia Admits That Its Campus Is No Longer Safe For Jewish Students And Has
       Effectively Cancelled In-Person Classes for Jews for the Remainder of the Semester.

       26.        Instead of taking action against the students, faculty, and outside individuals who

are harassing and intimidating Jewish students, Columbia’s administration has taken the

unprecedented step of shifting to a hybrid (i.e., online optional) model of education for the

remainder of the academic year. This drastic move signals the administration’s inability to

control the encampment and maintain campus security, further highlighting the severity of the

disruption to education and student life. By implementing a hybrid learning approach, the

university fails to address the underlying safety concerns while creating a stark divide in the

educational experiences of Jewish and non-Jewish students.

       27.        Columbia’s decision to cancel mandatory in-person learning underscores the



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severity of the safety concerns on campus. By shifting to a hybrid model, Columbia

acknowledges that it cannot guarantee and has taken no or, at best, insufficient steps to ensure

the safety of its Jewish students. This response reflects a troubling reality: the campus

environment has deteriorated to the point where the risk of violence and harassment is too high

to maintain normal academic operations.

       28.     Shifting to hybrid learning significantly disrupts the educational experience for

thousands of students. In-person interactions with professors and peers are a fundamental part of

university life, contributing to more than just academic knowledge. These interactions foster a

sense of community, allowing students to build meaningful relationships, network for future

career opportunities, and receive immediate feedback and guidance. The move to hybrid learning

not only diminishes these essential aspects of education but also isolates Jewish students from

the rich collaborative environment that a physical campus offers.

       29.     Additionally, hybrid learning can exacerbate feelings of loneliness and being

disconnected. Students lose out on the spontaneous conversations in hallways, the shared

experiences in classrooms, and the social events that are crucial for personal growth. The lack of

face-to-face engagement with faculty and peers can lead to a reduced sense of belonging, making

it harder for students to stay motivated and engaged in their studies.

       30.     This shift to hybrid learning also sends a troubling message: that violence and

threats are effective in disrupting the educational experience and will not be met with immediate

consequences if at all. By moving classes online instead of addressing the root causes of campus

unrest, the university risks normalizing dangerous and disruptive behavior. It creates a precedent

that safety concerns can lead to significant changes in the educational structure, allowing those

willing to engage in aggressive behavior to gain leverage over academic institutions. Ultimately,




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this impacts the quality of education and deprives students of the holistic university experience

they enrolled to be part of. It also has the potential of devaluing the degrees that these students

have worked hard to obtain, which in turn, may limit their job prospects and career paths after

graduation.

       31.     As part of the shift to hybrid learning, Columbia also announced that students can

choose to take exams online if they do not feel safe on campus. Online examinations present

several challenges and disadvantages for students. First, online exams can lead to increased

stress and anxiety due to technical issues such as unstable internet connections, software glitches,

or device malfunctions, which can disrupt and even prevent the test-taking process. Second,

online exams often lack the same level of academic integrity as in-person exams, with students

having greater access to unauthorized resources or the ability to collaborate, compromising the

fairness of the assessments, potentially undermining the credibility of students’ academic

performance. Indeed, prospective graduate schools and employers may view remote test scores

with skepticism, as they did during the COVID-19 pandemic, raising concerns about the validity

and reliability of the evaluations, which likewise could ultimately diminish the value of students’

grades and impact their future academic and professional opportunities.

       32.     Moreover, there’s something inherently comforting about taking exams with

others in a classroom setting. It’s a communal experience where students can gauge the pace and

reactions of their peers, picking up on cues like whether others are also struggling or breezing

through the test. This shared environment fosters a sense of solidarity and support, with students

offering encouragement to one another before and after the exam. The shift to online optional

examinations removes this communal feeling, isolating students and depriving them of the

reassuring presence of their classmates during a stressful time. Overall, these factors contribute




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to a less reliable and more stressful examination process, impacting students’ academic

outcomes, learning experiences, and, ultimately, prospects for future employment.

       33.     In addition to these issues, some Jewish students were unable to complete their

final examinations altogether and were forced to extend their semester into the summer to

complete their courses.

       34.     It should be noted that on February 12, 2024, the Committee on Education and the

Workforce of the U.S. House of Representatives opened an investigation into Columbia’s

“response to antisemitism and its failure to protect Jewish students,” citing “grave concerns

regarding the inadequacy of Columbia’s response.”

III.   Columbia Breached, and Continues to Breach, Its Policies And Promises To Provide
       Students With A Safe Learning Environment.

       35.     Columbia has clear policies and guidelines that promise to provide—in addition

to a legal obligation to provide—a safe learning environment for all students, regardless of their

race, ethnicity or religion. These policies prohibit harassment, discrimination, and violence, and

they commit the University to taking prompt and effective action against such behavior. In

addition, Columbia’s mission and vision statements underscore the importance of diversity,

inclusion, and a community where all students can learn and thrive without fear. It even warns

that “lack of awareness or understanding of University policies does not excuse a violation,” and

tells new students that “Upon accepting admission to Columbia University, [they] are expected

to become familiar with and uphold the University’s core values in such a way that they observe

and abide by the policies of the University.”

       36.     Despite these policies and promises, Columbia has failed to maintain a safe

learning environment free from discrimination and harassment. The ongoing incidents of

violence and harassment on campus directly violate the university’s own rules and commitments,



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including:

             (a) “to providing a learning, living, and working environment free from unlawful
                 discrimination and harassment and to fostering a nurturing and vibrant
                 community founded upon the fundamental dignity and worth of all of its
                 members.” (Non-discrimination Policy);
             (b) “to providing a learning, living, and working environment free from prohibited
                 discrimination and harassment and to fostering a nurturing and vibrant
                 community founded upon the fundamental dignity and worth of all of its
                 members. Each individual has the right to work and learn in a professional
                 atmosphere that promotes equal employment opportunities and prohibits
                 discrimination and harassment.” (EOAA Policies and Procedures);
             (c) “an obligation to assure members of its community that they can continue in
                 their academic pursuits without fear for their personal security or other serious
                 intrusions on their ability to teach and to study.” (Rules of University
                 Conduct);
             (d) “an obligation to ensure that all members of our community can participate in
                 their academic pursuits without fear for their safety. That is our highest
                 priority.” (emphasis added) (Student Event Policy);
             (e) prohibiting conduct that “disrupts a University function or renders its
                 continuation impossible” (Rules of University Conduct, Section 443);
             (f) an obligation that if “the President decides that a demonstration poses a clear
                 and present danger to persons, property, or the substantial functioning of any
                 division of the University, he or she shall take all necessary steps to secure the
                 cooperation of external authorities to bring about the end of the disruption.”
                 (emphasis added) (Rules of University Conduct);
             (g) prohibiting conduct that interferes with its mission to provide a “safe and
                 healthy educational environment,” including “Disruptive Behavior,” which is
                 defined as “behavior that interferes with the academic mission of the
                 University or compromises the well-being of the University community. This
                 includes but is not limited to behavior which is disruptive to the classroom,
                 laboratory, or University community.” (Rules of University Conduct);
             (h) “Reaffirm[ing]—amidst a concerning rise in hate and intimidation nationally
                 and internationally—our expectations for student conduct” and that “All
                 students deserve the opportunity to live and learn in peace. Our aim is to
                 maintain our academic mission, abide by our principles, safeguard the well-
                 being of all members of the community, and act in accord with long-established
                 rules even in this fraught moment.” (Guidance and Expectations on Student
                 Conduct); and
             (i) prohibiting conduct that “seriously affects the interests of the University or the
                 position of the member within the University community, or occurs in close
                 proximity to University premises and is connected to violative conduct on
                 University premises,” including: “Interference with or disruption of the regular


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                 operations and activities of the University” and “Unauthorized access to or
                 occupation of nonpublic areas on University premises.” (Rules for the
                 Maintenance of Public Order.)
        37.     By failing to provide its students with a safe learning environment, Columbia has

violated each of these policies.

        38.     The promise of personal security on campus is a necessary predicate to delivering

nearly all of the other specific on-campus services and facilities that Columbia promises in return

for a tuition payment: when students cannot be protected on campus, they cannot, for example,

enter the library, go to the gym, receive face-to-face counseling from Columbia advisers, attend

in-person class, sit for in-person examinations, or otherwise access the “wide variety of services

and tools [that] are available” through University Services “to assist students . . . with . . .

learning, housing, health, and other concerns.”

        39.     These services and tools include critical resources for students, such as: the in-

person offices of Counseling and Psychological Services (“Counseling and Psychological

Services offers short-term individual counseling, referrals for longer-term therapy, student-life

support groups, medication consultation, and emergency consultation”); the Berick Center for

Student Advising, which “brings together, under one roof, general academic advising, Academic

Success Programs, the Columbia Undergraduate Scholars Program (CUSP), and the Office of

Preprofessional Advising”; the in-person offices for Sexual Violence Response, which “provides

trauma-informed, confidential support, and prevention programs focused on ending gender and

power-based violence”; and a food pantry for students in need. The health and counseling

services are provided in return for specifically earmarked fees that come in addition to tuition

and are mandatory and non-refundable. All of these services are housed in the same building

(Lerner Hall), which is located directly next to the site of the encampment.

        40.     Columbia’s failure to provide students with a safe campus also necessarily means


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that it has broken its promise to provide students with these additional on-campus services.

                            FACTS SPECIFIC TO PLAINTIFF C.S.

         41.   Plaintiff C.S. is in her second year at Columbia. Plaintiff is an openly Jewish

student that experienced numerous instances of harassment and intimidation on campus since

October 7th. Though Plaintiff was at times uncomfortable on campus, she was generally able to

attend classes on campus without issue, and for the most part, felt safe in her educational

environment.

         42.   However, when the encampment was erected on April 18th, the level of hostility

on campus escalated dramatically, creating a sense of fear and insecurity for Plaintiff. The

aggressive protests and intimidating behavior near the encampment made her fearful of

harassment and even physical harm.

         43.   The hostile climate on campus significantly impacted Plaintiff’s education and

ability to complete coursework. For example, Plaintiff planned to finish a                     project

in the                     on April 21. The                      is located on campus and the

project could not have been completed elsewhere. But in an effort to contain the growing protests

on campus, Columbia shut down all but the main entrance, which is located at 116th Street and

Amsterdam Avenue. Unfortunately, a large demonstration was taking place at the main entrance

and there were numerous reports that some protesters were harassing, threatening, and in some

cases, shoving, Jewish students that attempted to access campus. Plaintiff contacted Columbia’s

Public Safety department                                     , but was told that there was no way to

arrange for safe passage to the                      that day. As a result, Plaintiff was unable to

complete her final exam project, which was a critical part of her                       coursework.

         44.   When Columbia shifted to a hybrid learning model, Plaintiff opted to attend




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remotely, as she felt unsafe attending classes in person, despite the significant impact it had on

her performance during final examinations. For instance, one of Plaintiff’s courses required her

to




                                               .

       45.     Not only did the shift to hybrid learning diminish Plaintiff’s academic

performance, but it left her feeling excluded and marginalized from her educational environment

and her university more generally.

       46.     Had Plaintiff known that Columbia would not provide a safe educational

environment, she would not have chosen to enroll at or pay tuition to Columbia.

                                     CLASS ALLEGATIONS

       47.     Class Definition: Plaintiff C.S. brings this action pursuant to Federal Rule of

Civil Procedure 23(b)(2) and Rule 23(b)(3) on behalf of herself and a Class defined as follows:

       All current students at Columbia University who have switched to online learning
       on or around April 24, 2024.

       The following people are excluded from the Class: (1) any Judge or Magistrate presiding

over this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,

successors, predecessors, and any entity in which the Defendant or its parents have a controlling

interest and their current or former officers and directors; (3) persons who properly execute and

file a timely request for exclusion from the Class; (4) persons whose claims in this matter have

been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and



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Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such

excluded persons.

       48.     Numerosity: The exact number of members of the Class is unknown to Plaintiff

at this time, but it is clear that individual joinder is impracticable. Tens of thousands of students

are enrolled at Columbia University. Ultimately, members of the Class will be identified through

Defendant’s records.

       49.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

                    (a) Whether Defendant promised to provide students with a safe
                        learning environment; and

                    (b) Whether Defendant breached that promise.

       50.     Typicality: Plaintiff’s claims are typical of the claims of the other members of the

Class in that Plaintiff and the members of the Class sustained damages arising out of Defendant’s

uniform wrongful conduct.

       51.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class and has retained counsel competent and experienced in complex

litigation and class actions. Plaintiff has no interests antagonistic to those of the Class, and

Defendant has no defenses unique to Plaintiff. Plaintiff and his counsel are committed to

vigorously prosecuting this action on behalf of the members of the Class and have the financial

resources to do so. Neither Plaintiff nor his counsel have any interest adverse to those of the

other members of the Class. In fact, Class Counsel are uniquely able to prosecute this case given

their deep experience representing vulnerable groups. See, e.g., Doe v. Meta Platforms, Inc.,



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2022-cv-00051 (N.D. Cal.) (representing members of the Rohingya community, a Muslim

minority in Myanmar in a first-of-its-kind lawsuit alleging Meta prioritized anti-Rohingya hate

speech on the Facebook platform and fueling the genocide); Ali v. Bitsmedia, 23-CH-09478 (Cir.

Ct. Cook Cty.) (representing users of the mobile app, MuslimPro, which assists users in finding

the qibla, the direction of Mecca for prayer alleging that defendant leveraged users’ location data

to compile detailed dossiers of the movements of its millions of Muslim users and sold them to

data brokers, including government contractors).

       52.     Policies Generally Applicable to the Class: This class action is appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible

standards of conduct toward the members of the Class and making final injunctive relief

appropriate with respect to the Class as a whole. Defendant’s policies challenged herein apply

and affect members of the Class uniformly and Plaintiff’s challenge of these policies hinges on

Defendant’s conduct with respect to the Class as a whole, not on facts or laws applicable only to

Plaintiff. Plaintiff and the members of the Class have suffered harm and damages as a result of

Defendant’s unlawful and wrongful conduct.

       53.     Superiority: This case is also appropriate for class certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy because joinder of all parties is impracticable. The damages suffered by the

individual members of the Class will likely be relatively small, especially given the burden and

expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.

Thus, it would be virtually impossible for the individual members of the Class to obtain effective

relief from Defendant’s misconduct. Even if members of the Class could sustain such individual




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litigation, it would still not be preferable to a class action because individual litigation would

increase the delay and expense to all parties due to the complex legal and factual controversies

presented in this Complaint. By contrast, a class action presents far fewer management

difficulties and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single Court. Economies of time, effort, and expense will be

fostered and uniformity of decisions ensured.

                                  FIRST CAUSE OF ACTION
                                      Breach of Contract
                               (On Behalf of Plaintiff and the Class)

       54.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       55.     New York law recognizes that the relationship between a student and a college is

contractual in nature, and that the terms of student handbooks, university bulletins, regulations,

codes, policies, and procedures become part of that contract.

       56.     At all relevant times, a contractual relationship existed between Columbia and

Plaintiff by virtue of her enrollment at Columbia and payment of her tuition.

       57.     Despite its stated policies and promises, Columbia has failed to maintain a safe

learning environment. The ongoing incidents of violence and harassment on campus violate the

university’s commitments to providing a safe, secure, and inclusive space for all students.

Columbia’s Non-Discrimination Policy emphasizes the importance of a nurturing community

free from unlawful discrimination and harassment. The Rules of University Conduct assure

students they can continue their academic pursuits without fear for their safety, while the Student

Event Policy explicitly states that safety is the highest priority. Additionally, these rules prohibit

disruptive behavior that interferes with the academic mission and authorize the university to take

necessary steps to address any disruption of the university’s functioning.




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       58.     Campus safety was an essential term of the contract between Plaintiff and the

Class and Columbia. Students take commitments to campus safety seriously when deciding

whether to attend (i.e., contract with) a university, and universities appeal to prospective students

by emphasizing safety and security on campus. Columbia specifically highlights its commitment

to creating a safe and inclusive environment in its promotional materials, policies, and student

handbooks. This emphasis on safety indicates that both parties intended campus safety to be an

essential term of the student-university contract. By choosing Columbia, Plaintiff and the Class

bargained for a safe learning environment where they could pursue their studies safely and

without fear of harassment or violence on campus.

       59.     By allowing the above described hateful, menacing, and violent behavior, and

failing to enforce these policies, Columbia has failed to provide a safe educational environment

and therefore breached its contractual obligations.

       60.     Furthermore, Columbia’s decision to shift to an online optional learning model

deprived Plaintiff of the full in-person educational experience promised under the terms of her

enrollment and constitute an additional breach of contract. Plaintiff reasonably expected to

participate in in-person classes, engage in face-to-face interactions with professors and peers, and

benefit from the collaborative and supportive environment of a physical campus. Columbia’s

failure to deliver on these expectations constitutes a material breach of its contractual

obligations.

       61.     Had Plaintiff known that Columbia would not provide an in-person educational

environment free of harassment, Plaintiff would not have chosen to enroll at or pay tuition to

Columbia.

       62.     As a direct, proximate, and foreseeable consequence of the foregoing breaches,




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Plaintiff has been damaged and continues to sustain substantial damage in amounts to be

determined at trial.

       63.      Accordingly, Plaintiff demands that Columbia take immediate steps to restore

safety and security on campus, including by enforcing its policies and restoring the in-person

educational environment promised under the terms of the contract.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff C.S., on behalf of herself and the Class, respectfully requests

that this Court enter an order:

       A. Certifying this case as a class action on behalf of the Class defined above,

             appointing Plaintiff as class representative of the Class, and appointing his

             counsel as Class Counsel;

       B. Declaring that Columbia’s actions, as described above, constitute breach of

             contract;

       C. Awarding injunctive and other equitable relief as described above and as

             necessary to protect the interests of the Class;

       D. Awarding Plaintiff and the Class compensatory and punitive damages in

             amounts to be determined at trial;

       E. Awarding Plaintiff and the Class their reasonable attorneys’ fees, costs, and

             other litigation expenses;

       F. Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

             allowable; and

       G. Awarding such other and further relief as equity and justice may require.




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                                   JURY TRIAL DEMANDED

       Plaintiff demands a jury trial for all issues so triable.

                                               Respectfully submitted,

                                               C.S., individually and on
                                               behalf of all others similarly situated,

Dated: April 29, 2024                          By: /s/ Carrie Goldberg
                                                      One of Plaintiff’s Attorneys

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